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 1                                  IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF PUERTO RICO
 2
 3      UNITED STATES OF AMERICA,
 4
                           Plaintiff,
 5
                               v.
 6                                                                  CRIMINAL:14-562 (CCC)

 7      [29] LYDIA RIVERA-LOZADA,

 8                       Defendant.

 9
10                               REPORT AND RECOMMENDATION
                            RE: RULE 11 PROCEEDINGS (PLEA OF GUILTY)
11
12 I.        Procedural Background

13           On September 18, 2014, a grand jury returned an indictment against [29] Lydia Rivera-Lozada

14 (hereinafter referred to as “defendant”) and other persons. ECF No. 3. The defendant has agreed to plead
15 guilty to count one of the indictment. Count one charges that beginning on a date unknown, but no later than
16 in or about the year 2008, and continuing up to and until the return of the indictment, in the Municipality
17 of Arecibo, District of Puerto Rico, and within the jurisdiction of this court, the defendant did knowingly
18 and intentionally combine, conspire, and agree with other persons known and unknown to the grand jury,
19 to commit an offense against the United States, that is, to knowingly and intentionally possess with intent
20 to distribute and/or distribute controlled substances, to wit: in excess of two hundred and eighty (280)
21 grams of a mixture or substance containing a detectable amount of cocaine base (crack), a Schedule II
     Narcotic Drug Controlled Substance; in excess of one (1) kilogram of a mixture or substance containing
22
     a detectable amount of heroin, a Schedule I, Narcotic Drug Controlled Substance; in excess of five (5)
23
     kilograms of a mixture or substance containing a detectable amount of cocaine, a Schedule II Narcotic Drug
24
     Controlled Substance; a mixture or substance containing a detectable amount of marijuana, a Schedule I
25
     Controlled Substance; within one thousand (1,000) feet of the real properties comprising housing facilities
26
     owned by a public housing authority, to wit: Las Mesetas Public Housing Project, all in violation of Title
27
     21, United States Code, Sections 841(a)(1), 846 and 860.
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 1                                                        2
 2 II.      Consent to Proceed Before a Magistrate Judge
 3          On May 26, 2015, while assisted by counsel, the defendant, by consent, appeared before the
 4 undersigned in order to change her previous not guilty plea to a plea of guilty as to count one of the
 5 indictment. In open court the defendant was questioned as to the purpose of the hearing being held and was
 6 advised of: (a) the nature and purpose of the hearing; (b) the fact that all inquiries were to be conducted
 7 under oath and that it was expected that her answers would be truthful; (c) the potential consequences of
 8 lying under oath (such as a perjury charge); and (d) her right to have the change of plea proceedings
 9 presided by a district judge instead of a magistrate judge. The defendant was also explained the differences
10 between the appointment and functions of the two. The defendant consented to proceed before the
11 undersigned magistrate judge.
12 III.     Proceedings Under Rule 11, Federal Rules of Criminal Procedure

13          A.      Rule 11(c)(1) Requirements

14                  Rule 11 of the Federal Rules of Criminal Procedure governs the acceptance of guilty
            pleas to federal criminal violations. Pursuant to Rule 11, in order for a plea of guilty to
15          constitute a valid waiver of the defendant’s right to trial, guilty pleas must be knowing and
            voluntary: “Rule 11 was intended to ensure that a defendant who pleads guilty does so with
16          an ‘understanding of the nature of the charge and consequences of his plea.’” United States
            v. Cotal-Crespo, 47 F.3d 1, 4 (1st Cir. 1995) (quoting McCarthy v. United States, 394 U.S.
17          459, 467 (1969)). [There are three core concerns in these proceedings]: 1) absence of
            coercion; 2) understanding of the charges; and 3) knowledge of the consequences of the
            guilty plea. United States v. Cotal-Crespo, 47 F.3d at 4 (citing United States v. Allard, 926
18          F.2d 1237, 1244-45 (1st Cir. 1991)).
            United States v. Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999).
19          B. Admonishment of Constitutional Rights
20          To assure defendant’s understanding and awareness of her rights, defendant was advised of her
21 right:
22          1.   To remain silent at trial and be presumed innocent, since it is the government who has the
23 burden of proving her guilt beyond a reasonable doubt.
24          2.   To testify or not to testify at trial, and that no adverse inference could be made in relation to
25 her decision not to testify.
26          3.   To a speedy trial before a district judge and a jury, at which she would be entitled to see and
27 cross examine the government witnesses, present evidence on her behalf, and challenge the government’s
28 evidence.
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 2           4.   To have a unanimous verdict rendered by a jury of twelve persons which would have to be
 3 convinced of defendant’s guilt beyond a reasonable doubt by means of admissible evidence.
 4           5.   To use the subpoena power of the court to compel the attendance of witnesses.
 5           Upon listening to the defendant’s responses, observing her demeanor and her speaking with her
 6 attorney, that to the best of counsel’s belief defendant had fully understood her rights, it is determined that
 7 defendant is aware of her constitutional rights.
 8           C. Consequences of Pleading Guilty

 9           Upon advising defendant of her constitutional rights, she was further advised of the consequences

10 of pleading guilty. Specifically, defendant was advised that by pleading guilty and upon having her guilty
11 plea accepted by the court, she will be giving up the above rights and will be convicted solely on her
12 statement that she is guilty.
13           In response to further questioning, defendant was explained and she understood that if convicted

14 on count one as charged she will face the following penalties: a term of imprisonment of not less than ten
15 (10) years and not more than twice life imprisonment, a fine not to exceed twenty million dollars
16 ($20,000,000), and a term of supervised release of at least ten (10) years but not more than life. However,
17 if the court accepts the defendant’s guilty plea and if the court accepts the amount of narcotics stipulated
18 by the parties in the plea agreement, that is at least two (2) but less than three point five (3.5) kilograms of
     cocaine, the penalties for the offense shall be the following: a term of imprisonment of not less than five
19
     (5) years and not more than eighty (80) years, a fine not to exceed ten million dollars ($10,000,000), and
20
     a term of supervised release of at least eight (8) years but not more than life.
21
             The defendant was explained what the supervised release term means and was also made aware that
22
     the court must impose a mandatory penalty assessment of one hundred dollars ($100) per offense pursuant
23
     Title 18, United States Code, Section 3013(a).
24
             The defendant was advised that the ultimate sentence was a matter solely for the court to decide in
25
     its discretion and that, even if the maximum imprisonment term and fine were to be imposed upon him, she
26
     later could not withdraw her guilty plea for that reason alone. Furthermore, the defendant was admonished
27
     of the fact that by pleading guilty she would not be allowed later on to withdraw her plea because she
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 1                                                                4
 2 eventually might disagree with the sentence imposed, and that if she violates the conditions of supervised
 3 release, that privilege could be revoked and she could be required to serve an additional term of
 4 imprisonment. She was also explained that parole has been abolished. The defendant understood this.
 5              D. Plea Agreement1
 6              The parties have entered into a written plea agreement that, upon being signed by the government,
 7 defense attorney and defendant, was filed and made part of the record. Defendant was clearly warned and
 8 recognized having understood that:
 9              1.   The plea agreement is not binding upon the sentencing court.

10              2.   The plea agreement is an agreement between the defendant, defense counsel and the attorney

11 for the government which is presented as a recommendation to the court in regards to the applicable
12 sentencing adjustments and guidelines, which are advisory.
13              3.   The agreement provides a sentencing recommendation and/or anticipated sentencing guideline

14 computation, that can be either accepted or rejected by the sentencing court.
15              4.   In spite of the plea agreement and any sentencing recommendation contained therein, the

16 sentencing court retains full discretion to reject such plea agreement and impose any sentence up to the
17 maximum possible penalty prescribed by statute.
         Defendant acknowledged having understood this explanation.
18
                E. Government's Evidence (Basis in Fact)
19
                The government presented a proffer of its evidence consistent with the version of facts of the plea
20
     agreement with which the defendant concurred. Accordingly, it is determined that there is a basis in fact
21
     and evidence to establish all the elements of the offense charged.
22
                F. Voluntariness
23
                The defendant accepted that no threats had been made to induce her to plead guilty and that she did
24
     not feel pressured to plead guilty.
25
26
27
28          1
                       “Plea agreement” refers to the agreement and its supplement.
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 1                                                        5
 2            G. Waiver of Appeal
 3            The defendant was explained, and she understood, that if the court accepts the plea agreement and
 4 sentences her according to its terms and conditions, she will be surrendering her right to appeal the sentence
 5 and judgment in this case.
 6   IV.      Conclusion
 7            The defendant, by consent, has appeared before me pursuant to Rule 11, Federal Rules of Criminal
 8 Procedure, and has entered a plea of guilty as to count one of the indictment. After cautioning and
 9 examining the defendant under oath and in open court, concerning each of the subject matters mentioned
10 in Rule 11, as described in the preceding sections, I find that defendant is competent to enter this guilty
11 plea, is aware of the nature of the offense charged and the maximum statutory penalties that the same
12 carries, understands that the charge is supported by the government’s evidence, has admitted to every
13 element of the offense charged, and has done so in an intelligent and voluntary manner with full knowledge
14 of the consequences of her guilty plea. Therefore, I recommend that the court accept the guilty plea of the
15 defendant and that the defendant be adjudged guilty as to count one of the indictment.
16            This report and recommendation is filed pursuant to 28 U.S.C. § 636(b)(1)(B). Any objections to

17 the same must be specific and must be filed with the Clerk of Court within fourteen (14) days of its receipt.
18 Fed. R. Civ. P. 72(b). Failure to timely file specific objections to the report and recommendation is a
     waiver of the right to review by the district court. United States v. Valencia-Copete, 792 F.2d 4 (1st Cir.
19
     1986).
20
              SO RECOMMENDED.
21
              At San Juan, Puerto Rico, this 4th day of June, 2015.
22
                                                     s/Marcos E. López
23                                                   U.S. MAGISTRATE JUDGE
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